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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK




 In re Application of CITY OF ALMATY for              Misc. Case No. 16-MC-00623-WFK-JO
 Order to Take Discovery Pursuant to 28 U.S.C. §
 1782                                                 Hon. James Orenstein




                         DECLARATION OF DAVID J. SCHINDLER

        I, David J. Schindler, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that

 the following is true and correct:

        1.      I am an attorney admitted to practice in the State of California and admitted to

 appear before this Court pro hac vice. I am a partner at the firm Latham & Watkins LLP, and I

 am lead counsel for Applicant City of Almaty (“Almaty”) in this action. I submit this

 declaration in support of Almaty’s Letter Motion for costs and fees (the “Letter Motion”),

 pursuant to Rule 16(f) of the Federal Rules of Civil Procedure. I have personal knowledge of the

 statements herein, and if called upon to do so, could and would testify competently thereto.

        2.      In preparing Almaty’s Letter Motion for costs and fees, associates on my team

 obtained information from my law firm’s accounting department pertaining to attorneys’ fees

 and costs incurred by Almaty, specifically in connection with: (1) drafting an opposition brief in

 response to RPM-Maro LLC’s and RPM USA, LLC’s (collectively, “Respondents”) motion to

 vacate the Court’s Ex Parte Order pursuant to 28 U.S.C. § 1782 and quash Almaty’s subpoenas

 (“Motion to Vacate and Quash”), which motion Respondents later abandoned, (2) preparing for

 and attending two pretrial status conferences regarding Respondents’ abandoned motion, neither




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 of which Respondents’ principals or officers attended, and (3) drafting the present cost and fees

 Letter Motion.

        3.        Attached as EXHIBIT A is a true and correct copy of Latham & Watkins’ April

 2016 invoice to Almaty.1 Information unrelated to the fees and costs sought by Almaty in the

 Letter Motion and any attorney-client privileged information has been redacted.

        4.        Attached as EXHIBIT B is a true and correct copy of Latham & Watkins’ May

 2016 invoice to Almaty. Information unrelated to the fees and costs sought by Almaty in the

 Letter Motion and any attorney-client privileged information has been redacted.

        5.        Attached as EXHIBIT C is a true and correct copy of Latham & Watkins’

 November 2016 invoice to Almaty. Information unrelated to the fees and costs sought by

 Almaty in the Letter Motion and any attorney-client privileged information has been redacted.

        6.        Attached as EXHIBIT D is a true and correct copy of part of Latham & Watkins’

 December 2016 invoice to Almaty. Information unrelated to the fees and costs sought by

 Almaty in the Letter Motion and any attorney-client privileged information has been redacted.

        7.        Attached as EXHIBIT E is a chart created by my team to identify specific entries

 for which only partial time was billed toward researching and drafting Almaty’s opposition brief

 in response to Respondents’ Motion to Vacate and Quash.

        8.        Based on the above-mentioned invoices, the total fees and costs sought by Almaty

 relating to either (1) researching and drafting Almaty’s opposition brief in response to

 Respondents’ Motion to Vacate and Quash, (2) preparing for and attending the two pretrial status

 conferences, and (3) researching and drafting the present Letter Motion is $89,692.93.



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   Attached to this Declaration are Latham & Watkins’ invoices to Almaty for April 2016, May
 2016, November 2016, and December 2016. By providing these invoices, Almaty is not waiving
 attorney client privilege, attorney work product, or any other applicable privilege.


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         9.      The primary billing attorneys whose fees are sought include: myself (David

 Schindler), Robert Malionek, Julie Gerchik and Noah Fisher. Below is a breakdown of each

 attorney’s billing rate:

                 a.         David Schindler: $1,200 per/hour

                 b.         Robert Malionek: $1,020 per/hour

                 c.         Julie Gerchik: $935 per/hour

                 d.         Noah Fisher: $715 per/hour

         10.     I have more than 29 years of experience practicing law in federal and state courts

 throughout the United States. I have represented companies, Board of Directors, and individuals

 in a broad array of matters, including government investigations, healthcare fraud and abuse,

 RICO, intellectual property, e-commerce and civil litigation. I have conducted internal

 investigations in numerous countries around the world and have been lead counsel in numerous

 federal and state trials. Prior to joining Latham & Watkins, I was an Assistant United States

 Attorney for the Central District of California for 11 years and also served as a Special Assistant

 to the United States Attorney General in connection with the prosecution of the sitting governor

 of the State of Arizona.

         11.     I have delivered lectures and instruction throughout the world on conducting

 internal investigations, financial statement fraud, healthcare fraud and abuse, computer law,

 cybercrime, computer intrusions and corporate compliance. I am recognized as a leading white-

 collar crime and government investigations litigation attorney in numerous publications

 including, Band 1 recognition by Chambers USA, the 2013, 2009 and 2008 editions of The Legal

 500 US, and recognition in 2013 by Euromoney as a “Life Sciences Industry Star.”




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         12.      Attached as EXHIBIT F is a true and correct copy of Robert Malionek’s Latham

 & Watkins profile. According to Mr. Malionek’s firm profile and personal knowledge, he is an

 experienced attorney of almost twenty years and focuses on securities litigation and professional

 liability defense. Mr. Malionek has tried several cases in state and federal courts and in

 arbitrations, and has represented clients successfully through appeal in a variety of areas. He has

 published many articles and chapters and given presentations to various organizations regarding

 financial disclosures, among other issues. Mr. Malionek has advised numerous clients on

 complex litigation matters, including lawsuits involving civil RICO.

         13.      Attached as EXHIBIT G is a true and correct copy of Julie Gerchik’s Latham &

 Watkins profile. According to Ms. Gerchik’s firm profile and personal knowledge, she is an

 experienced senior associate with ten years of practice who focuses on litigating financial

 institutions matters, complex business litigation disputes, securities litigation and regulatory

 matters, and real estate disputes. Ms. Gerchik frequently represents major domestic and

 international financial institutions and private equity firms, and currently or previously has

 represented JP Morgan Chase, Deutsche Bank, Societe Generale, the Carlyle Group and the

 Yucaipa Companies.

         14.      Attached as EXHIBIT H is a true and correct copy of Noah Fischer’s Latham &

 Watkins profile. According to Mr. Fischer’s firm profile and personal knowledge, he is a third

 year associate with Latham & Watkins and has had three years of experience practicing all types

 of civil litigation.

         15.      Based on the level of experience and skill set of each of the billing attorneys

 discussed above, the billing rates for each attorney are reasonable.




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        16.     Prior to filing this motion for sanctions, Almaty and Respondents (collectively,

 the “Parties”) engaged in good faith meet and confer efforts pursuant to Rule 37(a)(1) of the

 Federal Rules of Civil Procedure and Local Rule 37.3(a). Attached as EXHIBIT I is a true and

 correct copy of the Parties’ email exchange demonstrating the Parties’ meet and confer efforts.

 As reflected in Exhibit D, on November 29, 2016, the Parties met and conferred by telephone

 regarding Almaty’s request for costs and fees (among other items). The Parties met and

 conferred by telephone again on December 2, 2016. On December 5, 2016, the Parties continued

 their meet and confer efforts over email. The Parties were unable to reach agreement and

 Almaty notified Respondents of its intention to file this Letter Motion.

        17.     Any amount received in connection with Almaty’s motion for sanctions will be

 turned over to Almaty or credited toward its next bill rendered.


 Executed on December 8, 2016 in Los Angeles, California.

                                                      __/s/ David J. Schindler_____________
                                                      David J. Schindler (admitted pro hac vice)




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